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                                        Laura A. Briggs, Clerk
                                        U.S. District Court
                                        Southern District of Indiana

                                        By
                                                              Deputy Clerk


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  Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

            3:08CR00029-006
  Cause No. _____________________

            Michael Redmond
  Defendant _____________________


  As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
  1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
  following reason(s):

  _____ 1) The defendant is not eligible for a reduction because the amendments listed in
        subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

    ✔ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
  _____
        defendant, but it does not have the effect of lowering the defendant=s applicable guideline
        range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
        career offender status).

  _____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
        determined such a reduction is not appropriate because of the nature and seriousness of the
        danger to any person or the community that may be posed by a reduction in sentence.
        (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

  _____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
        has determined the post-sentencing conduct demonstrates the defendant may pose a danger
        to any person or the community by a reduction in sentence. (Application Note 1(B) of
        U.S.S.G. ' 1B1.10.)

    ✔
  _____ 5) Other (explain)

         ________________________________________________________________________
         The defendant's base offense level was determined under U.S.S.G. § 4B1.1 (Career
         Offender).
         ________________________________________________________________________

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